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                             UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

    JOHN DOE,

                           Plaintiff,

    v.                                                            Case No: 6:18-cv-1069-RBD-LRH

    ROLLINS COLLEGE,

                           Defendant.



                                                 ORDER
           On March 25, 2021, Defendant filed a proposed bill of costs. Doc. No. 206. On March

    31, 2021, Plaintiff filed objections to the proposed bill of costs, arguing that Defendant had failed

    to describe the expenses with particularity or provide any proof of payment for any of the costs.

    Doc. No. 208. After Plaintiff filed his objections, Defendant filed a “Notice of Filing in Support

    of Defendant’s Bill of Costs,” which includes supporting invoices. Doc. Nos. 209, 209-1.

           Upon consideration that Defendant has not filed any explanation as to the proposed bill of

    costs, and Plaintiff’s objections to same, the Court will require the parties to submit supplemental

    briefing regarding the proposed bill of costs. Accordingly, it is ORDERED as follows:

               1. On or before April 19, 2021, Defendant shall file a supplemental brief as it relates

                   to the proposed bill of costs, which shall not exceed ten (10) pages in length, with an

                   explanation of the costs sought and legal authority supporting the recoverability of

                   same.

               2. On or before May 3, 2021, Plaintiff may file a response to Defendant’s supplemental

                   brief, which shall not exceed ten (10) pages in length.
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               3. Upon receipt of the parties’ supplemental briefing, the Court will take the issue of

                  costs under advisement.

           DONE and ORDERED in Orlando, Florida on April 5, 2021.




    Copies furnished to:

    Counsel of Record




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